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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                          June 24, 2024

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 21-12314-U
Case Style: National Rifle Association, et al v. Commissioner, Florida Dept. of Law
Enforcement
District Court Docket No: 4:18-cv-00137-MW-MAF

                               EN BANC BRIEFING NOTICE

In light of the Supreme Court’s ruling in United States v. Rahimi, No. 22-915, the parties are
reminded to file their en banc briefs on the following issue:

                 “Is the statute unconstitutional under the Second and
                  Fourteenth Amendments to the Constitution?”

The appellants’ en banc brief is due July 31, 2024. The appellee’s en banc brief is due August
30, 2024 and any en banc reply brief is due on September 20, 2024. NO EXTENSIONS
WILL BE GRANTED.

Form
Please see FRAP 28 and 32 and the corresponding circuit rules for information on the form of
briefs. The filing of an en banc amicus brief is governed by 11thCir.R.35-8.

Paper Copies
All parties must file 10 briefs in paper. Counsel is not required to submit the additional copies
of the previous filed briefs.

Oral argument will be held the held the week of October 21, 2024 in Atlanta, Georgia.

Clerk's Office Phone Numbers
General Information: 404-335-6100           Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135           Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125              Cases Set for Oral Argument: 404-335-6141
